AO 245B (Rev.06/05) Sheet 1 – Judgment in a Criminal Case


                                      United States District Court
                                         Eastern District of Wisconsin
 UNITED STATES OF AMERICA                                   AMENDED JUDGMENT AND ORDER VACATING
                                                            COUNT ONE OF THE SUPERSEDING INDICTMENT
          V.                                                PURSUANT TO THE MANDATE OF THE COURT OF
                                                            APPEALS
 JERRY WALKER
                                                            Case Number: 96-CR-4-1-JPS
                                                            Marshal Number: 04582-089
                                                            Martin Kohler               Joseph Wall
                                                            Defendant’s Attorney        Assistant United States Attorney


DATE OF ORIGINAL JUDGMENT: April 4, 1997
DATE OF AMENDED JUDGMENT: Nunc pro tunc October 19, 1998

       Pursuant to the mandate of the Court of Appeals, issued on October 19, 1998, Defendant’s conviction
and sentence as to Count One of the Superseding Indictment was vacated. The Court will, therefore, dismiss
Count One of the Superseding Indictment in its entirety. This amended judgment shall have retroactive effect
as of October 19, 1998. Accordingly,

     IT IS ORDERED that Count One of the Superseding Indictment be and the same is hereby
DISMISSED, along with the terms of the sentence which was imposed thereon, including a:

         1.        Term of life imprisonment;
         2.        Term of five years’ supervised release and attendant conditions;
         3.        $50.00 special assessment; and
         4.        $5,000.00 fine.

       Except as otherwise provided herein, all provisions of the previous judgment shall remain intact, and
the same are incorporated herein by reference as though set forth herein at length.

         Dated at Milwaukee, Wisconsin, this 18th day of October, 2017.



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                                                            J. P. Stadtmueller
                                                            U.S. District Judge




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